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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION


 LIA JAVIER,​                              )​                 Case No. 4:24-cv-03327-YGR
                                           )​
     Plaintiff,​                           )​                 [PROPOSED] ORDER GRANTING
                                           )​                 STIPULATION TO EXPAND PRO
 v.​                                       )​                 BONO APPOINTMENT AND SET
                                           )​                 TIME FOR AMENDED COMPLAINT
 KAISER FOUNDATION HEALTH PLAN, INC.,​ )​                     AND RESPONSE
                                           )​
     Defendant.​                           )​
 _________________________________________​)​

         Having considered the parties’ stipulation, for good cause appearing, the Court hereby approves

 the stipulation and ORDERS:

         1.      The scope of the Court’s appointment of Warren Kash Warren (Dkt. 33) is expanded to

 include representation for the limited purpose of assisting Plaintiff Lia Javier with the preparation and

 filing of an amended complaint in this action.

         2.      Plaintiff’s Amended Complaint shall be filed on or before July 31, 2025.

         3.      Defendant’s answer or other response to Plaintiff’s Amended Complaint shall be filed

 within 30 days of the completion of the Settlement Conference.

         IT IS SO ORDERED.

 DATED: ________________​                                 _____________________________________
                                                          Honorable Yvonne Gonzalez Rogers
                                                          United States District Court Judge




  ​                                                       ​                       Case No. 4:24-cv-03327-YGR
___________________________________________________________________________________________________________
 ___________________________________________________________________________________________________________________
                        [PROPOSED] ORDER GRANTING STIPULATION TO EXPAND PRO BONO APPOINTMENT
                                                   AND SET TIME FOR AMENDED COMPLAINT AND RESPONSE
